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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          8:11CR54
                                            )
             Plaintiff,                     )
                                            )          ORDER
v.                                          )
                                            )
KRISTA SWANSON,                             )
                                            )
             Defendant.                     )



      UPON THE ORAL MOTION OF THE DEFENDANT,

       IT IS ORDERED that the Change of Plea hearing is continued to August 16,
2011 at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       For this defendant, the time between July 13, 2011 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 13th day of July, 2011.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
